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 1                                UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA
 4
                            Plaintiff(s),
 5

 6
      VS.                                                        2:05-cr-125-JCM-RJJ
 7
      AMBER MCDEARMON ET AL
 8

 9
                          Defendant(s),
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11
                        SEALED ORDER FOR DESTRUCTION OF EXHIBITS
12
              The Clerk's Office having given notice to counsel as prescribed by LR 79-1 and LCR
13
     55-1 of the Local Rules of Practice of this Court, and counsel having failed to make
14
     arrangements to retrieve the exhibits in the allotted time, IT IS HEREBY ORDERED that the
15
     Clerk is authorized to destroy the exhibits previously admitted in this matter.
16

17   Dated:
                                                 U.S. DISTRICT JUDGE
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